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                            UNITED STATES DISTW CT COURT
                            SO UTIIER N DISTW CT OF FLO RIDA

                            CA SE N O . 24-M J-03454-E1fenbein

                                                                                                TS
   UNITED STA TES OF AM ERICA

   V.                                                                                Jul 17, 2024
   AV ERY A.BIVIN S,
                                                                                                      Miami, FL

                D efendant.
                                                /

                                  CRIM INAL COVER SIV ET
         D id thism atteroriginatefrom am atterpending in theN orthern Region oftheUnited States
         Attorney'sOftkepriortoAugust8,2014(M ag.JudgeShaniekM .Maynard)? No.
         D id thism atteroriginate from am atterpending in the CentralRegion ofthe United States
         Attorney'sOfficepriortoOctober3,2019(M ag.JudgeJaredM .Strauss)? No.
         D id this m atter involve the participation of or consulltion w ith now M agistrate Judge
         Eduardo 1.Sanchez during his tenure atthe U.S.A ttorney's Oftsce,which concluded on
         January 22,20232 N o.

         D id this m atter involve the participation of orconsultation now M agistrate Judge M arty
         Fulgueira Elfenbein during hertenure atthe U .S.Attorney's Office,w hich concluded on
         M arch 5,20247 No.


                                                     Respectfully subm itted,

                                                     M ARK ENZY LAPOINTE
                                                     UN ITED STATES A TTORN EY

                                              By: A #J4,& .
                                                     Abbie D .W axm an
                                                     AssistntUnited StatesA ttorney
                                                     Florida BarN o.:109315
                                                     U .S.Attorney'sO ffsce
                                                     99N .E.4th Street,M iam i,FL 33132
                                                     Tel:(305)961-9240
                                                     Abbie.W axmano usdoi.gov
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AO9l(Rev.02/09)Cri
                 minalComplai
                            nt

                               U NITED STATES D ISTRICT COURT
                                                    forthe
                                         Southern DistrictofFlorida

               United StatesofAm erica                 )
                          M.                           )
                                                       )     CaseNo. 24-MJ-03454-Elfenbein
                   AveryA.Bivins,                      )
                                                       )
                                                       )

        C         AL COM PLAINT BY TELEPHONE OR OTHER RELIARLE ELECTRONIC M EANS

        1,the complainantin thiscase,statethatthefollowing istnzetothebestofmy knowledge and belief.
Onoraboutthedatets)of November2023throughJul
                                           y2024 inthecountyof                         Miami
                                                                                           -Dade             inthe
   Southem     Districtof     Florida      ,thedefendantts)violated:
            CodeSection                                        OyenseDescrètion
         18U.S.C.j 1958                         M urderForHire
         18U.S.C.j2261A                         Stalking
         18U.S.C.j924(c)                        Possessionofa Firearm in Furtherance ofa Crime ofViol
                                                                                                    ence
         18U.S.C.j2                             Aiding and Abetting




        n iscriminalcomplaintisbased on thesefacts:
        SEE AU ACHED AFFIDAVIT.




        W Continuedolttheattachedsheet.

                                                                                                           adge N:.100722
                                                                              Complainant'
                                                                                         ssignature

                                                                       ConorGoepel,SpecialAqentFBI
                                                                               Printed nameand title


AttestedtobytheApplicantinaccordancewiththerequirement.sofFed.R.Crim.P.4.1by Face Tim e
                                                                    > :-'*-7 + V.
                                                                         .         5
                                                                                   ''
Date. JUY 17,2024
    *
                                                                 :'               .?                '
                                                                                 Judge'
                                                                                      ssignature

City and state'
              .                                               Honorabl
                                                                     eMartyFul
                                                                             gueiraEl
                                                                                    fenbei
                                                                                         n,Uni
                                                                                             tedStatesMagistrateJudge
                                                                               Printed name and title
Case 1:24-mj-03454-MFE Document 1 Entered on FLSD Docket 07/18/2024 Page 3 of 15




                     AFH D AW T IN SUPPO RT OF CR IM INAL C OM PLA IN T

          YourA ffiant,ConorS.Goepel,being duly swom ,deposes and statesasfollow s:

                        U TR OD UCTION AND A GEN T BACK G R O UND

                  1am a SpecialAgentfortheFederalBureau ofInvestigation ($TB1'')currently
   assigned to the ViolentCrim esT ugitive Task Force in the M iam iD ivision. 1have been an FB1

   SpecialAgentsince Septem ber2021and havebeen assigned to theM iam iD ivision sinceFebruary

   2022. 1am an investigativeorlaw enforcem entofficerofthe United Sutesw ithin the m eaning of

   Title 18,United StatesCode,Section 251047),in thatlam empowered by law to conduct
   investigations of,and to make arrestsfor,federaloflknses. A s a SpecialAgentforthe FBI,m y

   duties involve the investigation of a variety ofviolations of federaloffenses,including,butnot

   lim ited to,bank robberies,H obbsA ctrobberies,extortion,ând m urderforhire.

                  1am currently a m em berofthe South Florida Violent Crim e Task Force. A spart

   of my professional duties and responsibilities, I have becom e fam iliar w ith the investigative

   m ethods and enforcem ent of violent crim es pertaining to state and federal laws. 1 have also

   becom e versed in m ethodologies and practices employed by individuals and groupswho com m it

   violentcrim es.

                  The facts contained in this M tidavit are based on m y personal know ledge and

    inform ation provided to m e by other law enforcem entofficers.This Affidavitisbeing subm itted

    forthe lim ited purposeofestablishing probable causefortheproposed com plaint,and assuch does

   not contain every fact known to m e. lrespectfully subm it thatbased upon the facts presented

   below ,thatthere is probable cause to believe thatAvery A .BIVIN S com m itted the offenses of

   M urderforHire,in violation ofTitle 18,United Sttes Code,Section 1958;Stalking,in V iolation

    ofTitle 18,United StatesCode,Section 2261A(2);Possession ofaFirearm in Furtheranceofa
    CrimeofViolence,inviolationofTitle18,UnitedStatesCode,Section9244c)and2.
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                                       PR OBABLE CAUSE
                                            Background
           4.     Since July of 2022, law enforcem ent has been investigating Sergio Pino for

   orchestratingmultiplecontractstokillhisestrangedwife(EEvictim 1')andhersister,bothresidents
   of M iam i-D ade County.Events surrounding the contracts to kill Victim 1 include,but are not

   lim ited to,m ore than one attem ptto poison V ictim 1,two separate vehicle arsons atV ictim 1's

   sister'sresidence,ahitandrunatVictim 1'sresidenceinPinecrest,Florida(hereinafter,Stvictim
    1'sResidence'),themailingofathreateninjlettertoVictim 1,andanassaultonVictim 1andthe
   daughterofPinoandVictim 1(çdvictim 2'3withafireal'
                                                    m atVictim 1'sResidence,a11occuning
    since2019 through June 2024.Law enforcem entalso discovered thatVictim 1had been poisoned

   w ith fenunylthrough the tam pering ofherprescribed m edication.

                                  TheFirstM urderforHireFf/br/
           5.     As a result of this investigation law enforcem ent secured the arrest of Bayron

   BENNETT,Jerren HOWARD,M ichaelDULFO, and Edner ETIENNE (hereinafter, SEthe
   HOW ARD Group''),forstalking,arson,anduseofinterstatefacilitiesinaidofracketeering.See
   CaseNumbers24-mj-02454-Reid,24-mj-02460-Reid,and24-CR-20110-Gayles.Asaresultof
   itsinvestigation,law enforcem ent learned thatPino contracted the H OW AR D Group to conduct

   the arsonsand hit and run againstVictim 1. Law enforcem ent also learned that Pino soughtto

   secure fentanylfrom m em bersoftheH OW ARD Group in furtherance ofhiseffortsagainstVictim

    1.M oreover,1aw enforcem entlearned thatPino solicited a price to killVictim 1.A fterthe arrest

   of the H OW ARD Group, law enforcem ent learned that Pino continued his m urder for hire

   conspiracy w ith anew group ofindividuals,which becam e visible on June 23,2024.
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                                TheSecondM urderforHireFF//'
                                                           /
          6.     On June 23,2024,atapproxim ately 8:45 am ,V ictim 1,departed herresidence in

   hervehicle.Atapproxim ately 11:30 am ,Victim 1 returned to herresidenceand m om entarily idled

   in herdriveway while she w aited for the gate on the w estside ofthe house to open.As V ictim 1

   began to pullintothedriveway,sheobserved ablackmale individual(lateridentifed by 1aw
   enforcementasVernonGreen(G(GltEEN'')),brandishingaGreanuandrunningtowardhervehicle.
   In fear forher safety,and in an attem ptto getaw ay,Victim 1 drove into herbackyard,scraping

   the sides ofher caragainsta t'
                                ree and a fence. Victim 1 continuously horlked the horn ofhercar

   asshe attem pted to getaway. GREEN pursued on footand ran into the backyard before heturned

   aroùnd and ran back tow ard thefrontofV ictim 1'sResidence.

                 D uring this tim e,V ictim l and Pino's daughter,V ictim 2,w as inside V ictim 1's

   Residencew hen she heard a loud crash and avehicle honking. V ictim 2 exited the Residence and

   ran toward the frontofthe house. A sshe reached the open gate,Victim 2 noticed a black pickup

   truck parked on the street. GREEN ,com ing from the back ofthe house,ran up behind Victim 2

   and pointed a firearm atV ictim 2'shead. Upon GREEN 'Sapproach,V ictim 2 t'
                                                                             urned around and

   saw GREEN as he pointed a pistolwith a silver slide inches from her face. GREEN grabbed

   V ictim 2'sarm and told herto go back into the house.V ictim 2 then ran back inside.

          8.     A fter Victim 2 fled,GREEN ran across the front yard ofV ictim 1's Residence

   tow ard theeastside oftheproperty.M om entslater,GREEN turned back,ran acrossthe yard,and

   entered the back passengerside ofablack DodgeRam pickup truck (the tr odge Ram'').The
   D odge Ram then rapidly departed the area,which reasonably indicates there was an additional

   individual,SUB JECT 2,acting asthe getaw ay driver.
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          9.      V ictim 1's Residence is equipped w ith surveillance cam eras affxed around the

   property thatcaptured the incident. The video footage showsthe seriesofeventsthattook place:

    1)Victim 1anivingatherresidence'
                                   ,2)theDodgeRam asitanivesandstopsnexttoVictim 1's
   Residence;3)GREEN,wearingalight-coloredt-shirqshorts,yellow-coloredboots,abeanie,and
   afacecovering,exitingtheDodgeRam'sbackpassengerside;and4)GREEN nmningup tothe
   Victim 1 holding w hat appears to be a frearm in his righthand. The surveillance foot ge also

   show s:V ictim 1driving hervehicletow ard the backyard,w hile GREEN pursuing on foot.Lastly,

   thevideo surveillance show sVictim 2 exitthe residence and GREEN approaching V ictim 2 from

   behind,pointing a fireann atherhead,and grabbing herarm .

                  Law enforcem ent canvassed V ictim 1's neighborhood and obtained video

   surveillance footage show ing that on June 23, 2024, the D odge Ram anived and parked

   approxim ately one block eastofV ictim 1'sResidence. TheD odge Ram followed closely behind

   awhiteTesla(the(.Tesla''),whichcontinuedwest,passingVictim 1'sResidence.Thevideoshows
   the Tesla traveleast,passing Victim 1's Residence less than two m inutes later. The Tesla then

   continued east,passing the D odge Ram ,which then im m ediately departed as they both t'urned

   north away from Victim 1'sResidence. 'l'he video then showsthe D odge Ram ret'urn to the sam e

   spotwhere ithad previously parked,where itdid notdepartuntilapproxim ately 11:30 am ,w hen

   V ictim 1 returned to hom e.

          11.     In m y training and experience,it is com m on forcrim inals to use m ultiple cars to

   com m itcrim es to carry m ultiple co-conspirators. In this case,the close proxim ity of the w hite

   Teslato theDodgeRam overtim e,distance,and changeofdirection indicatesadirectrelationship

   between the occupantsofthe DodgeRam and the white Tesla.
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                               Ident6cationandM ovementof Vehicles
             12.   A further analysis ofsurveillance video obtained from the vicinity ofV ictim 1's

   Residence revealed Flqridp license plate DIORI affsxed to the rear of the Tesla. lnform ation

   obtained from the Florida Departm entofH ighw ay Safety and M otorVehicles,driverand vehicle

   information database (GEDAVID'')disclosesthatthe licenseplateDIORIisregistered to Diori
   BARN AR D .A databasesearch show ed BA RN ARD 'Sregistered residentialaddressto be located

   in M iam i,Florida.

                   On June 24, 2024, 1aw enforcem ent conducted surveillance of BM kN M lD 's

   residence. Parked outside the house was a white ChevroletTahoe,bearing Florida license plate

   BN SOW L. A DA VID query revealed the Tahoe is registered to BARNA RD. Upon review ing

   licenseplatereader(:tPR'')images,onM ay3,2024,anLPR collectedanimageofBARNARD'S
   residence thatcaptured thew hite Tahoe nextto a black DodgeRam with chrom e bum pers,sim ilar

   in description totheDodgeRam seen around Victim 1'sResidencepn June 23,2024.In thisim age,

   an after-m arketLED lightis visible on the D odge Ram 's frontbum per.

                   On the afternoon of June 24,2024,FBI surveillance recovered the Dodge Ram ,

   with Florida license plate BPI6UV ,abandoned in the vicinity of SW 70th Avenue and SW 80th

   Streetnearby V ictim 1'sResidence.Law enforcem entobserved an after-m arketLED lightaffixed

   to the Dodge Ram 's front bum per,in the sam e place as the one seen on the D odge Ram at

   BM kNAlkD'sresidence.Thevehicleidentification number(ç:VlN'')associatedwith theDodge
   Ram , 1C6111G 8G 1M N 533057, is reported stolen. Based on m y training and experience,

   perpetrators ofviolentcrim es often use a stolen vehicle to com m itthe crim e,and an additional

   vehicle,in this case the white Tesla,to attem pt to avoid detection and escape the scene of the

   crim e.
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          15.    Law enforcem ent queried for stolen vehicles and received an Orange County

   Sheriff'sDepartment(FL)reportstatingthattheDodgeRam wasstoleninthevicinityofOrlando,
   Florida,in the early m orning hoursofM arch 31,2024.Also contained in thatreport,(IS.H .,''the

   ow nerofthe Dodge Ram ,stated thevehicle can be differentiated from sim ilarm odels,by an LED

   strobe lightaffxed to the frontbum per.

          16.    Florida License Plate BPI6UV ,also reported stolen, is associated with a 2013

   orange Toyota Corollm lLaw enforcem entlocated and interview ed,(:A.0.,''the ow nerassociated

   with Florida tag BPI6U V .Upon locating A .O.,hisvehicle,a blue DodgeRam ,wasparked in the

   lotw ith Floridalicenseplate 85BM PA affxed totherear.A .O .acknow ledged thecurrentplate on

   histruck w asnothisand he had no know ledge ofhow thatplate goton hisvehicle.A .O.told law

   enforcem entthat he had recently visited a W alm art.Law enforcem entphotographed and seized

   the plate forprocessing.In my training and experience,perpetrators ofcrim esinvolving vehicles

   willtry to avoid detection by using stolen vehicles and sw itching the license plate affixed to a

   vehicle used forcrim inalpup osesto concealthevehicle'sidentity.

                 An LPR review ofFlorida plate 85B&1PA revealed thaton June 19,2024,at8:41

   pm ,A .O.'s blue D odge Ram w as parked ata W alm artin M iam i,Florida.A n LPR review also

   documented aM azda C-30,parked in the same W almartat8:42 pm. A review ofthe W almart
   surveillance footage showed the white Tesla driving w ith the M azda C-30 and pulling up to the

   blueD odge Ram .Based on the driving pattern,parking location,and tim e spentin the parking lot

   withoutentering the store,it is reasonable to believe thatthe occupants of the white Tesla and




    l.
     Itshould be noted thatduring the interview ofthe ow ners of the blue Dodge Ram and orange
   ToyotaCorolla,itwasdiscoveredthattheyhavetwolicenseplates(BPI61N andBPI3UVIthat
   were im properly afGxed to theirvehicles.
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   occupantsofthe M azda C-30 w orked togetherto steala licenseplate offofa sim ilarm ake,m odel,

   and colorvehicle in orderto placethe m is-attributable licenseplate on theD odge Ram .

          18.     On June 24,2024,FBl located and seized the w hite Tesla with the license plate

   GGDIORI''affixed to the rear ofthe vehicle.A sealed federalsearch warrantw as obtained,and on

   June 25,2024,1aw enforcem entextracted footage recorded by the Tesla's onboard computer

   system ,which included m ultiple cam eras capturing exteriorfoou ge.Footage revealed the w hite

   Tesla parked in the driveway of BARN ARD 'S residence parked next to the black D odge Ram

   m atching the description ofthe Dodge Ram used in the TargetOffense.The footage also showed

   ClementaJohnsonISSJOl4NSON''IashewasgettinginandoutofthepassengersideoftheDodge
   Ram . Footage also revealed JOHN SON entering the driver'sside and departing in a light-colored

   M azda C-30.

                  On or about June 24, 2024,BA RN ARD was arrested pursuant to a crim inal

   complaint.SeeCaseNo.24-mj-03234-Reid.
                                   Johnson and the M azda C-30

          20.      SeminoleHardRockCasino(s<l-lardRockCasino'')advisedlaw enforcementthat
   JOHN SON had an active playeraccountwith the casino.Further,surveillance footagefrom Hard

   Rock Casino show sthaton June 21,2024,at8:40 am .JOHN SON arrived alone in a light-colored

   M azdaC-30,bearingFloridalicenseplate95BKCV (theSGM azdaC-30'').TheMazdaC-30'sVI.
                                                                                   N
   is 3M V17M 817111R11648633 and isthe vehicle is registered to P.V .Holding Corp,a carrental

   com pany.The H ard Rock Casino surveillance footage also shows that JOHN SON departed the
   casino asthe driverand sole occupantofthe M azda C-30.
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           21.    Records check atP.V .H olding Corp,revealed thatthe M azda C-30 w asrented on

    June 14,2024,to D ioriBARN ARD.Thisvehicle wasscheduled to be returned on June 21,2024,

    butwasnotreturned untilJune 28,2024.

           22.    A review ofLPR database checks for the M azda C-30 license plate revealed its

    location on June 21,2024,at7:56:52 pm ,in thevicinity ofVictim 1'sresidence.TheM azda C-30

    w asim m ediately behind the stolen D odge Ram w hich hitthe LPR at7:56:57 pm .This location is

    approxim ately 1.3 m iles south ofVictim 1'sResidence.

           23.    A dditionalLPR recordsindicatethaton June22,2024,the M azda C-30 isrecorded

    by the M onroe County SheriY s Office,K ey Largo South LPR,located im m ediately over the

    Route 1 bridge onto K ey Largo. In an interview w ith Victim 1,law enforcem entleam ed thatshe

    wasin K ey Largo on the evening ofJune 22,2024,w ith areservation to stay atBaker'sCay Resort

    CResort'').OnJune28,2024,pursuanttoasealedfederalsearchwarrantoftheDodgeRam law
    enforcem entsearched the black Dodge Ram and recovered aResortvaletpassw ith an arrivaldate

    of June 22,2024,and a departure date of June 26,2024.Law enforcem ent reviewed security

    footage provided by the Resort and observed the Dodge Ram and BM tN AlkD 's w hite Tahoe

    follow Victim 1 into the Resort'sparking areathrough the Resort'sfrontgate.

           24.    On June 28,2024,pursuantto a sealed federal search warrant,1aw enforcem ent

    obtained BA ltNA lkD 's historicalcellsite data from hisprovider.Upon review ofthese records,

    law enforcem ent leam ed thatBARN ARD called JOHN SON on the evening of June 22,2024,

    while in the vicinity ofV ictim l'sResidence.On June 23,2024,priorto driving the w hite Tesla

    to V ictim 1's Residence, BA RNA RD contacted JOHN SON . BARN A'
                                                                   RD again conu cted

    JOHN SON upon the w hite Tesla and the Dodge Ram 's arrivaloutside ofV ictim 1's Residence.

    JOHNSON,BA'
              RNARD,andadditionalunidentifedphonenumbersthenappeartojoinagroup
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    phone callshortly thereafterw hile the Dodge Ram and the white Tesla are dow n the streetfrom

    Victim 1'sResidence.Based on m y training and experience,Ibelieve thatthe tim ing ofthisphone

    callin conjunctionwith thesequenceofeventsasobservedon residentialsurveillance footge
    indicatesthatthe individuals insidethe vehiclesw ere coordinating theireventualattack on V ictim

    l.In rhy training and experience,this coordination and the dependence upon cellular devices to

    com m unicate during the course ofthe m urderforhire plotestablishesthatthey conspired to use a

    facility ofinterstate orforeign comm erce and did use a facility ofinterstate and foreign com m erce

    to plan and execute theirattack on V ictim s 1 and 2.

                       ArrestOfJOHNSON Ident6cationOH IVS S,FJZZZ
                                                                U
                   On oraboutJuly 1,2024,JOHN SON was arrested by law enforcem entpursuantto

    acriminalcomplaint.SeeCaseNo.24-mj-03324-Goodman.Law enforcementlaterlearned the
    followingabouttheplotto killVictim 1that1edtotheJune23,2024 assaultwithafireann:1)
    JOHNSON washiredtomurderVictim 1byBIVINS;2)BIVINShadbeen askedby amalehe
    m etin prison known to him as GEcuba,''to m urderVICTIM 1,and Cuba w as acting on behalfof

    Victim 1'sestrangedhusband,Pino; 3)CubatoldBIVINStomakeitlookclean;4)Cuba'sreal
    nam ew asunlcnown,butitwas believed thathe w asstock'
                                                        y,the ownerofa roofing com pany,and

    driving agreyDodgeRam;and 4)GREEN wasthegunman.GIREEN wasarrestedpursuantto
    criminalcomplaint.SeeCaseNo.24-mj-034l4-E1fenbein.
           26.     A law enforcem entanalystreview ed Pino'shistoricalW hatsApp callrecordsm ade

    toandfrom Pino'sdeviceand isolatedacallonJune21,2024,bytelephonenumber(786)260-
    2876. Based on a 1aw enforcem ent database search, subscriber inform ation for this cellular

    telephonecameback to Fausto Villar(GEW LLAR.
                                               '').VILLAR'SwifeistheownerofEvalution
    RooGng LLC and VILLAR isthe registered ow nerofa2024 grey DodgeRam .W LLAR'SDodge
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    Ram has been photographed w ith an Evalution Roofing LLC m agnet aftsxed to the side of the

    vehicle. Further law enforcem ent investigation revealed thatW LLA R and BIW N S overlapped

    term s of imprisonm entduring the years 2012 - 2016 in the Florida Departm entof Corrections.

    This colw borates previously learned inform ation that VILLAR m et BIVIN S while serving a

    prison sentence. A dditionally,during the m onth ofJune 2024,V ILLA R m ade sixteen W hatsApp

    callswith Pino,nine ofwhich occurred on June 21,2024.

                  On July 8,2024, law enforcem entobtained a sealed federal search wanunt for

    BIV INS'person,residence,and electronic devices.

           28.    On Friday,July 12,2024, 1aw enforcem ent contacted BIVIN S w ho voluntarily

    agreed to m eetw ith law enforcementunderthe adviceofcounsel.Law enforcem entexplained that

    they were in possession ofthe above-m entioned federalsearch w arrant.

           29.    Law enforcem entlaterleanzed thefollow ing abouttheplotto killV ictim 1that1ed

    totheJune23,2024assaultwithatsrearm:1)BIVINS knew W LLAR asGcuba''andthatthey
    knew each otherfrom stateprisonandthey remained in contactaftertheirrelease;2)VILLAR
    contactedBIVINSinoraroundOctoberorNovember2023aboutawealthyman(lateridentified
    asPino)whocontractedhim tokillhisestrangedwife(Victim 1);3)W LLAR enlistedBI'
                                                                                W NSto
    gatheragroup forthejob;4)accordingtoVILLAR,Victim 1wantedhalfofwhatPinoowned
    andwouldnotsettlefortheoffered20million dollars;and 5)BIVINS contacted JOHNSON to
    killV ictim 1.JOHN SON researched V ictim 1 and Pino and explained to BIW N S how m uch

    m oney they possessed.

           30.    VILLAR and BIV INS m etm ultipletim eand BIVIN S acceptedthem urdercontract.

    Law enforcement learned that Pino was willing to pay $150,000 for the murder contract's

    completion and there would be an additional$150,000 ifthe contractwascarried outwithout
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    detection.W LLAR alsoprovidedtwo cashpaymentsof$30,000and $45,000 up frontduringtwo
    separatem eetings.W LLAR provided syringesand vialsto use during the execution ofthe m urder

    contract. BIW N S has connections to JOHN SON w ho brought on other individuals including

    BA RN AR D to com pletethe contract.

            31.   Law enforcem entlearned thatVILLA R provided a deadline ofJune 24,2024,to

    killV ictim 1,to ensurethatshe could notm akethe nextdivorceproceeding between herand Pino.

    JOHN SON and the othersbegan stalking V ictim 1 som etim e afterJune 11,2024.From June 19 to

    23,2024,JOHN SON and otherssu lked Victim 1 atseverallocationsoverm ultiple days.BIV INS

    w asin consistentconuctw ith JOH NSON throughoutthisperiod oftim e.

            32.   Afterthe June 23,2024,askaultw ith a firearm ,JOHN SON contacted BIVIN S and

    stated thejob wascompleted.BIW NS relayed this information to VILLAR.Laterthatday,
    V ILLAR 'S cellulardevice used a tow erthatservicesthe area ofV ictim 1's residence.VILLA R

    then contacted BIW N S explaining thathe saw law enforcem entpresence atV ictim 1'sresidence.

            33.   BIVINS m etW LLAR three distincttim esto collectthe money,syringes,and vials

    containingan injectablesubstance.A comparisonofthehistoricalcellsitedatabetweenBIVINS
    and VILLAR show sthatthey m eton June 5,2024,atapproxim ately 7:30 pm ;June 11,2024,at

    approxim ately 8pm ;and June 27,2024,atapproxim ately 8:15 pm .

            34.   After BA RNA RD and JOHN SON 'S arrests, BIV IN S notified W LLAR of their

    arrests.W LLAR expressedthattthisboy,''(Pino)waswoniedabouttheirarrests.VILLAR stated
    he would conu ctPino form oney to covertheirlegalfees.Law enforcem entlearned thatVILLA R

    w asusing a burnertelephone thatthey had been using to com m unicate since approxim ately June

    2024.




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           35.    On July 12,2024,1aw enforcem entobtained a sealed federalsearch wanuntforone

    ofVILLAR 'S cellulartelephone devicesthatincluded prospective cellular data.The inform ation

    obtained from thisw arrantprovides1aw enforcem entw ith live cellulartowerusage ofthe device.

    Law enforcem entbegan receiving this inform ation on July 14,2024.

           36.    On July 15,2024,law enforcem entm onitored avoluntarily recorded callbetween

    BIVTN S and VILLAR using their burner telephones.During the call,VILLAR im pressed upon

    BIVIN S thatthey needed to ceasecontactand 1ay 1ow untiltIthe sm oke clears.''V ILLA R im plied

    to BIW N S thathe could notgetm ore m oney from Pino because law enforcem entw asm onitoring

    Pino.VILLA R instructed BIW N S to delete hisInstagram ,clearhisphone logs,and to getrid of

    his burnertelephone.VILLAR talks aboutifthe firstattem pts on V ictim 1 getconnected to the

    attem pt involved with BIVINS that they could be charged with conspiracy. VILLAR also

    instructed BIV FN S to m akesurethatthearrested individualsdid notgive up BIVIN S and W LLA R

    by m aking itseem like the robbery w as a crim e ofopportunity.VILLAR tellsBIVIN S to çdt.ake

    careofhispeople''and im plieshe needsto keep them in lineand thatthere willbea giftafterward

    forthetwo ofthem and the arrested individuals ifthey do so.VILLAR 'Ssolicitation thatBIVINS

    falsely acceptresponsibility for a robbery,rather than a m urder for hire is in accord w ith prior

    effortsby Pino and his associates to use obstructive m eans to advance their illicitgoals through

    fraud and deceit. For coniparison, this investigation has identiled Pino's solicitation of

    individuals to burn his own car on Septem ber7,2023,shoot at his property,and provide false

    Statem entsto 1aw enforcem entagents.

           37.    Imm ediately after BIVINS and V ILLA R'S recorded call, 1aw enforcem ent

    m onitored the pen registertrap and traceassociated w ith Pino'sknown cellulartelephonenum ber.

    Law enforcem entobserved a W hatsApp call between VILLAR 'S prim ary cellular device and


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    Pino that lasted approxim ately three m inutes and fifteen seconds. V ILLA R and Pino also

    exchanged W hatsApp m essagesduring this tim e.

                   Through pen registertrap and trace asw ellas tolldata,1aw enforcem entlearned

    thatthroughoutthecourseofthesecondmurderforhireefforta1lsubjectscoordinatedtheirefforts
    using cellular devices that utilized a facility of interstate or foreign com m erce. For exam ple,

    throughout the m urder effort, data suggests there is a consistent and synchronized tlow of

    information beginning with Pino to W LLA R.Thatdata continuesto show V K LA R contacting

    BIVINS w ho w ould then contact JOHN SON w ho then contacted GREEN ,BARN ARD , and

    others.The sam e synchronized flow ofinform ation can be seen in reverse back to Pino.Thistlow

    ofinform ation existssurrounding signitscantevents correlated to attackson V ictim 1.

                                            CON CLUSIO N

           39.     Based upon the foregoing,l subm itthatthere is probable cause forthe proposed

    com plaintcharging BIV TNS w ith the offenses ofM urderforH ire,in violation ofTitle 18,United

    States Code, Section 19589 Stalking,'in V iolation of Title 18, United States Code, Section

    2261A(2);PossessionofaFirearm inFurtheranceofaCrimeofViolence,inviolationofTitle18,
    UnitedSàtesCode,Section924/)and2.
           FU RTH ER AFFIAN T SAYEH N AU GHT.


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                                                      CON OR GOEPEL
                                                      SPECIAL A GEN T
                                                      FEDERAL BUREAU OF INV ESTIGA TION

    Attested to by the applicantin accordancew ith the requirem ents ofFed.R.Crim .P.4.1
    by Face Tim e this 17th day ofJuly 2024.

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    HON ORABLE ARTY FULGEIRA ELFEN BEEC
    U NITED STATES NLNGISTRATE XJD GE
